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 9   Attorneys for Defendants

10
                                  UNITED STATES DISTRICT COURT
11
                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
12
                                                     Civil Action No. 3:18-cv-02279-RS
13    City of San Jose, et al.,

14             Plaintiffs,                           DEFENDANTS’ OBJECTIONS TO
                                                     PLAINTIFFS’ TRIAL DECLARATIONS
15    v.
                                                     Date: January 2, 2019
16    WILBUR L. ROSS, JR., et al.,                   Time: 10:00 am
                                                     Judge: Hon. Richard Seeborg
17              Defendants.

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27   ______________________________________________________________________________
28   DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL DECLARATIONS – No. 3:18-cv-02279-RS
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 1           Defendants United States Department of Commerce, Wilbur L. Ross, Jr., in his official

 2   capacity as Secretary of Commerce, Census Bureau, and Ron S. Jarmin, in his official capacity as
 3   performing the non-exclusive functions and duties of the Director of the Census Bureau, hereby
 4
     submit objections to the following portions of Plaintiffs’ trial declarations.
 5
                                         Trial Affidavit of Margo Anderson
 6
             ¶¶ 15-35. These paragraphs of Dr. Anderson’s affidavit, which discuss the disclosure of
 7
     census information about Japanese Americans during World War II, are new and outside scope of
 8

 9   her expert report. Therefore, these paragraphs should be excluded.

10           Objections to Exhibits: Exhibit 1 is her expert report which should be excluded as hearsay

11   under 802. Exhibits 2, 3 and 4 support her new testimony and therefore should be excluded. In
12   addition, they should also be excluded as hearsay (802). Exhibit 4 should further be excluded for
13
     lack of authentication (901).
14
                                            Trial Affidavit of Jill Bourne
15
             ¶ 21. “Because Branch Community Profiles are created using Census data, if the accuracy or quality of the
16
     Census data decline, the accuracy and quality of the Community Branch Profiles will likewise decline.” Untimely
17

18   disclosed expert opinion (702 and Rule 26(a)(2)(C)). Ms. Bourne purports to offer a predictive

19   opinion based on her experience and personal observations as the Director of the San Jose Public

20   Library. Ms. Bourne is not offering lay opinion testimony, but instead, based on her specialized
21   knowledge she has developed by virtue of her job, an opinions about how census data is used and
22
     could be affected constitute Rule 702 testimony. Because Plaintiffs did not timely disclose this
23
     expert opinion, this testimony should be excluded.
24
             Rule 701 precludes lay testimony based on specialized knowledge. FiTeq INC v. Venture
25
     Corp., No. 13-CV-01946-BLF, 2016 WL 693256, at *3 (N.D. Cal. Feb. 22, 2016 (agreeing that
26
                                                             2
27   ______________________________________________________________________________
28   DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL DECLARATIONS – No. 3:18-cv-02279-RS
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 1   defendants are correct to draw a line between lay and expert witness testimony). “Lay witness
 2   testimony is governed by Rule 701, which limits opinions to those 'rationally based on the
 3
     perception of the witness.' Rule 702, on the other hand, governs admission of expert opinion
 4
     testimony concerning ‘specialized knowledge.’ ” United States v. Figueroa-Lopez, 125 F.3d 1241, 1246
 5
     (9th Cir. 1997) (citing Fed. R. Evid. 701). Rule 701 “expressly excludes lay opinion testimony ‘based
 6
     on scientific, technical, or other specialized knowledge within the scope of Rule 702.’ ” Synthes USA,
 7

 8   LLC v. Spinal Kinetics, Inc., No. C-09-01201 RMW, 2011 WL 11709387, at *10 (N.D. Cal. Aug. 19,

 9   2011) (citing Fed. R. Evid. 701(c)); See also Calloway v. Contra Costa Cty. Jail Corr. Officers, No. C 01-

10   2689 SBA, 2007 WL 134581, at *19 (N.D. Cal. Jan. 16, 2007), aff'd, 243 F. App'x 320 (9th Cir. 2007)
11   (excluding declaration testimony describing medical condition as improper lay testimony under 701):
12
     United States v. Tomasetta, No. 10 CR 1205 PAC, 2012 WL 1080293, at *4 (S.D.N.Y. Mar. 30,
13
     2012) (holding that testimony by research analysts about predictions about the effect of making
14
     different disclosures or opinions based on generalized knowledge about the industry constituted
15
     expert testimony); In re: Gen. Motors LLC Ignition Switch Litig., No. 14-MC-2543 (JMF), 2016 WL
16

17   4410008, at *2 (S.D.N.Y. Aug. 18, 2016) (holding that testimony by an EMT and a state trooper

18   about why air bags didn’t deploy in a crash required specialized or technical knowledge and thus

19   constituted expert testimony).
20           ¶ 22. “If the accuracy or quality of the Branch Community Profiles decline, I will be less able to make
21
     appropriate decisions regarding resource allocation, collection management, and program management for the SJPL,
22
     and less able to fulfill SJPL’s goal of serving all members of the San Jose community.” Untimely disclosed expert
23
     opinion (702 and Rule 26(a)(2)(C)), for the same reasons noted above.
24

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27   ______________________________________________________________________________
28   DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL DECLARATIONS – No. 3:18-cv-02279-RS
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 1                                          Trial Affidavit of Kristen Clements

 2            ¶ 1. I believe that if the addition of a citizenship question on the 2020 Census leads to an undercount of the
 3   population of San Jose relative to other jurisdictions, the City will not receive the necessary of level of federal funding
 4
     necessary to effectively implement critical affordable housing programs for our community. Lack of personal
 5
     knowledge (602); improper lay testimony and undisclosed expert testimony (701/702; 26(a)(2)). Ms.
 6
     Clements purports to offer testimony based on her experience and professional observations as the
 7
     Division Manager for the City of San Jose’s Department of Housing. Ms. Clements is not
 8

 9   purporting to offer lay or expert opinion testimony. The foregoing statements offer a predictive

10   opinion implicitly based on technical conclusions regarding the impact of future population counts

11   on technical funding algorithms. Ms. Clements’ declaration does not establish that she has personal
12   knowledge of how these funding algorithms operate or experience in applying them (lack of
13
     personal knowledge) and, to the extent that these statements are based on specialized knowledge
14
     and calculations, Plaintiffs did not disclose her as a lay or expert witness (improper lay testimony and
15
     undisclosed expert testimony).
16
              ¶ 4. Over the past decade, the growth of the technology sector has brought many well-paying jobs to San Jose,
17

18   but has also made housing much more expensive. New apartments that are built are class A luxury units with very

19   few affordable units included in the properties, as in-lieu fees are less expensive than reducing high rents down to

20   required affordable levels. Lack of personal knowledge (602); hearsay (802). Ms. Clements has not
21   established that she has personal knowledge as to the job market in San Jose (Ms. Clements’ area is
22
     housing) or as to the reasons that luxury units are built instead of affordable units.
23
              ¶ 11.     HUD uses Census and ACS data to make these allocations. Lack of personal knowledge
24
     (602); hearsay (802). Ms. Clements has not established the source of this statement. (The same
25

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27   ______________________________________________________________________________
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 1   objection applies to paragraph 14 of Ms. Clements’ Nov. 2, 2018, Declaration (ECF No. 99-2), if the

 2   Court admits that into the trial record.)
 3            ¶ 15. San Jose’s funding is allocated pursuant to Formula A. The population element of Formula A is
 4
     calculated based on data reported by the United States Census Bureau (the “Bureau”) based on the census conducted
 5
     every ten years (the “Decennial Census”) and the subsequent American Community Survey (“ACS”). Lack of
 6
     personal knowledge (602); hearsay (802). Ms. Clements has not established the source of this
 7
     statement. (The same objection applies to paragraphs 11 and 12 of Ms. Clements’ Nov. 2, 2018,
 8

 9   Declaration (ECF No. 99-2).)

10            ¶ 20. [I]f the Decennial Census underreports the population of San Jose relative to other participating

11   jurisdictions, the City will receive less CDBG funding. Lack of personal knowledge (602); improper lay
12   testimony and undisclosed expert testimony (701/702; 26(a)(2)(C)—See discussion of paragraph 1
13
     above. (The same objection applies to paragraph 23 of Ms. Clements’ Nov. 2, 2018, Declaration
14
     (ECF No. 99-2).)
15
              ¶ 21. [I]f the Decennial Census underreports the population of San Jose relative to other participating
16
     jurisdictions, the City will receive less HOME funding. Lack of personal knowledge (602); improper lay
17

18   testimony and undisclosed expert testimony (701/702; 26(a)(2)(C))—See discussion of paragraph 1

19   above. (The same objection applies to paragraph 25 of Ms. Clements’ Nov. 2, 2018, Declaration
20   (ECF No. 99-2).
21
                                          Trial Affidavit of Monique Melchor
22
              ¶ 20. [I]f the Census Bureau were to provide lower-than-accurate population data for the City of San Jose
23
     relative to other participating jurisdictions, the City of San Jose would receive less funding through WIOA than it
24
     would if the data were accurate. Lack of personal knowledge (602); improper lay testimony and
25

26   undisclosed expert testimony (701/702; 26(a)(2)). Ms. Melchor purports to offer testimony based
                                                                5
27   ______________________________________________________________________________
28   DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL DECLARATIONS – No. 3:18-cv-02279-RS
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 1   on her experience and professional observations as the Director of work2future, Workforce

 2   Development Board, Office of Economic Development for the City of San Jose. Ms. Melchor is
 3   not purporting to offer lay or expert opinion testimony. The foregoing statement offers a predictive
 4
     opinion implicitly based on technical conclusions regarding the impact of future population counts
 5
     on technical funding algorithms. Ms. Melchor’s declaration does not establish that she has personal
 6
     knowledge of how these funding algorithms operate or experience in applying them (lack of
 7
     personal knowledge) and, to the extent that these statements are based on specialized knowledge
 8

 9   and calculations not acquired or performed in the course of her professional duties, Plaintiffs did

10   not disclosure her as a lay or expert witness (improper lay testimony and undisclosed expert

11   testimony).
12                                     Trial Declaration of Andrew Reamer
13
             ¶¶ 67-73. These paragraphs in Dr. Reamer’s affidavit are new and outside scope of his
14
     expert report and therefore should be excluded. These paragraphs discuss new programs not
15
     previously analyzed as part of his expert report. At his deposition, he admitted that he had not
16
     performed any additional calculations for programs beyond the five he analyzed in the New York
17

18   case. See Transcript of Deposition of Dr. Reamer at 71:25-72:2. Ex.1

19           Objection to Exhibits: Exhibits A and B are Dr. Reamer’s expert report and curriculum vitae

20   which are hearsay and should not be admitted (802). Exhibit C is admissible only under Rule 703.
21   Exhibits D and E should be excluded because they are not relevant (401/403) and are hearsay (802)
22
     if offered for the truth of the matter asserted.
23
                                        Trial Affidavit of Raymond Riordan
24
             ¶ 11. [A]ny net undercount of the population of the City of San Jose would negatively impact its ability to
25
     obtain funding in the event of a disaster. Lack of personal knowledge (602); improper lay testimony and
26
                                                              6
27   ______________________________________________________________________________
28   DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL DECLARATIONS – No. 3:18-cv-02279-RS
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 1   undisclosed expert testimony (701/702; 26(a)(2)). Mr. Riordan purports to offer testimony based on

 2   his experience and professional observations as the Director of the Office of Emergency
 3   Management for the City of San Jose. Mr. Riordan is not purporting to offer lay or expert opinion
 4
     testimony. The foregoing statement offers a predictive opinion implicitly based on technical
 5
     conclusions regarding the impact of future population counts on technical funding algorithms. Mr.
 6
     Riordan’s declaration does not establish that he has personal knowledge of how these funding
 7
     algorithms operate or experience in applying them (lack of personal knowledge) and, to the extent
 8

 9   that these statements are based on specialized knowledge and calculations not acquired or

10   performed in the course of his professional duties, Plaintiffs did not disclosure him as a lay or expert

11   witness (improper lay testimony and undisclosed expert testimony).
12                                      Trial Affidavit of Jeff Ruster
13
             ¶ 9. Lack of Personal Knowledge. Foundation. Hearsay. The basis for Mr. Ruster’s
14
     knowledge for the statement in this paragraph is information he obtained at a meeting, described in
15
     the preceding paragraph, “with over 100 representatives from a number of community-based,
16
     educational, government, and private sector organizations.” The statements made by these
17

18   representatives constitute inadmissible hearsay under Rule 802. To the extent Mr. Ruster is simply

19   representing what the content of these statements and relying upon them for the truth of the matter

20   asserted therein, Defendants object to this paragraph.
21           ¶ 12. Lack of foundation. (601, 602). The statement in this paragraph makes an
22
     unsupported assertion that “outreach programs designed to encourage hard-to-count populations to
23
     respond to the 2020 Census” will be required “to divert funds and use additional sources of City
24
     funding not currently designated for census-related outreach.”
25

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27   ______________________________________________________________________________
28   DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL DECLARATIONS – No. 3:18-cv-02279-RS
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 1            ¶ 14. “This consultant . . . likely will be required to divert some of that time and resources to facilitate

 2   participation in the 2020 Census, and likely will be required to divert some of that time and resources to address the
 3   effect of the addition of the citizenship question on hard-t-count populations.” Lack of foundation and
 4
     speculation (601, 602). The statements quoted above are not based on personal knowledge and
 5
     contain Mr. Ruster’s speculative predictions about future events.
 6
              ¶ 15: Lack of foundation (601, 602). The statement in this paragraph makes an unsupported
 7
     assertion that “the City of San Jose expects to allocate at least an additional $300,00 in preparing and
 8

 9   implementing outreach strategies for the 2020 Decennial Census.”

10            Exhibit A: Hearsay (802) (if submitted for the truth of the statements contained in the

11   documents); Lack of ability to sufficiently authenticate (901).
12                                            Trial Affidavit of Opal Tometi
13
     ECF 94-4 Declaration of Opal Tometi (incorporated by reference)
14
              ¶ 9: “BAJI’s mission is harmed because the addition of the citizenship question to the 2020 Decennial
15
     Census creates a legitimate risk of a heightened undercount of immigrant populations. The impact of such an
16
     undercount, including a dilution of political power and a loss of federal funding, on the very immigrant communities
17

18   that BAJI serves impedes its mission to advance these communities’ access to racial, social, and economic justice.”

19   Untimely disclosed expert opinion (702 and Rule 26(a)(2)(C)). Ms. Tometi purports to offer a

20   predictive opinion based on her knowledge, experience and personal observations as the Executive
21   Director of the Black Alliance for Just Immigration ((BAJI). Ms. Tometi is not offering lay opinion
22
     testimony, but instead, based on her specialized knowledge she has developed by virtue of her job,
23
     predictive opinions about the outcome of the 2020 decennial census. Under these circumstances,
24
     Ms. Tometi’s opinions are subject to the relevance and reliability criteria of Rule 702, and Plaintiffs’
25
     failure to disclose this testimony under Rule 26(a)(2)(C) should result in its exclusion.
26
                                                                 8
27   ______________________________________________________________________________
28   DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL DECLARATIONS – No. 3:18-cv-02279-RS
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 1             ¶ 10. “Additionally, because BAJI’s members are typically concentrated in immigrant-rich metropolitan

 2   regions, the impact of an undercount will be disproportionately felt in these discrete locations.” Untimely disclosed
 3   expert opinion (702 and Rule 26(a)(2)(C)), for the same reasons noted above.
 4
               ¶ 11. To the extent the statements in this paragraph are offered for the truth of the matter
 5
     asserted, Defendants object to them as hearsay (802).
 6
               ¶ 14. Lack of foundation and speculation (601, 602). The statements in this paragraph are
 7
     not based on personal knowledge and contain Ms. Tometi’s speculative predictions about future
 8

 9   events.

10             ¶¶ 15-17, 19. Untimely disclosed expert opinions (702 and Rule 26(a)(2)(C)), for the same

11   reasons noted above.
12   Trial Affidavit
13
               ¶¶ 5-6. Lack of Personal Knowledge; Foundation; Hearsay (601, 602, 802). As reflected in
14
     these paragraphs, the basis for Ms. Tometi’s knowledge are “news reports indicating that the
15
     government may try to change the law so as to allow the sharing of 2020 census information.”
16
     These news reports constitute inadmissible hearsay. ADD CITE To the extent Ms. Tometi is
17

18   referring to and relying on these reports for the truth of the matters asserted therein, Defendants

19   object to admission of these paragraphs.

20
     Date: January 6, 2019                                          Respectfully submitted,
21
                                                                    JOSEPH H. HUNT
22                                                                  Acting Assistant Attorney General
23                                                                  BRETT A. SHUMATE
                                                                    Deputy Assistant Attorney General
24
                                                                    JOHN R. GRIFFITHS
25                                                                  Director, Federal Programs Branch
26                                                                  CARLOTTA P. WELLS
                                                               9
27   ______________________________________________________________________________
28   DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL DECLARATIONS – No. 3:18-cv-02279-RS
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 1                                                   Assistant Director

 2                                                     /s/Marsha Stelson Edney
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 3                                                   Senior Trial Counsel
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 4                                                   CAROL FEDERIGHI
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27   ______________________________________________________________________________
28   DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL DECLARATIONS – No. 3:18-cv-02279-RS
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                           Exhibit 1
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                                                                   71


   1   poverty level.

   2   BY MR. TOMLINSON:

   3            Q.    Right.

   4            A.    So the poverty level might seem funny,

   5   but the poverty level is itself census derived

   6   because it relies on the consumer price index.         It

   7   gets adjusted every year, and the housing portion of

   8   the consumer price index is based on the American

   9   Community Survey.

  10            So programs that rely on the inflation factor

  11   are not going to be as sensitive as ones that where

  12   -- particularly when that inflation factor is applied

  13   across the board, across the U.S., it will not be as

  14   sensitive as programs in which it is specifically

  15   saying this State gets this amount of money.

  16            Q.    Okay.

  17            A.    I want to add one thing.    You know,

  18   we've been talking about the impact of a citizenship

  19   question on the distribution of federal funds.

  20   Census data get used for lots and lots of things

  21   beyond that.

  22            So if the CPI gets screwed up, that has

  23   ramifications that go well beyond what we're talking

  24   about.

  25            Q.    Okay.    So you've only done calculations
Case 3:18-cv-02279-RS Document 149 Filed 01/07/19 Page 13 of 13




                                                              72


   1   of these five specific programs.        Correct?

   2          A.       Correct.

   3          Q.       And, as I understand it, your expert

   4   opinion is that those five specific programs are

   5   representative of the 24 total programs that use

   6   geographic allocation formulas; is that correct?

   7          MS. MORGAN:     Objection to form.

   8          THE WITNESS:        I would say they're

   9   representative of the principle that a differential

  10   -- that programs that rely on either FMAP or State

  11   share would be -- the grantees would differentially

  12   affected by a differential undercount, and so it is

  13   illustrative of the dynamic of the 24 programs, but

  14   the 24 programs themselves are representative of a

  15   larger group.

  16   BY MR. TOMLINSON:

  17          Q.       But you have not conducted any specific

  18   analysis of any government program that does not use

  19   a geographic allocation formula.        Correct?

  20          A.       Correct.     All five of these use

  21   geographic allocation.

  22          Q.       So are you intending to offer expert

  23   testimony as to the impact the differential

  24   undercount in the decennial census would have on the

  25   government programs that do not use geographic
